Case 3:20-cv-08267-ZNQ-TJB          Document 201       Filed 09/12/24       Page 1 of 1 PageID:
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                                                    September 12, 2024

VIA ECF
Hon. Zahid N. Quraishi, U.S.D.J.
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street
Trenton, NJ 08608

       Re:    Conforti v. Hanlon
              No. 20-08267


Dear Judge Quraishi:

        This firm, along with Bromberg Law LLC, represents Plaintiffs in the above-referenced
matter. I am pleased to submit for the Court’s consideration and approval two settlements and
proposed consent decrees in this matter, one regarding the Burlington County Clerk and the other
regarding the Middlesex County Democratic Organization.

       The parties to these settlements respectfully request that Your Honor review these
instruments and sign them where indicated.

       If the Court has any questions, we remain available to address them at any time.


                                                    Respectfully submitted,

                                                    /s/ Flavio L. Komuves
                                                    Flavio L. Komuves

cc:    All counsel of record, via ECF
